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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION


     UNITED STATES OF AMERICA,                CR15-40070

                        Plaintiff,            AMENDED
                                              FACTUAL BASIS STATEMENT
            vs.

     NATHANUEL WALTER DOWNS

                        Defendant.



            The undersigned parties stipulate that the following facts are true and

    establish a factual basis for the plea in the action pursuant to Federal Rules of

    Criminal Procedure 11(b)(3):

            On April   10,    2015,   Nathanuel Walter Downs,      defendant herein,

    responded to an advertisement posted on backpage.com placed by law

    enforcement as part of an online sting operation. On April 10, 2015, using the

    email    address   of    "trancelucent712@hotmail.com,   the   defendant   began

    corresponding with undercover law enforcement officers via email while using

    his Samsung cellular telephone.       During. some of the email correspondence

    with undercover officers, Downs was in the state of Iowa.       At approximately

    2:00 a.m., Downs indicated he would like to meet at 2:15 a.m. to have sex with

    a 15-year-old girl for the price of $150. Downs did not know he was

    corresponding with law enforcement or that 'the 15 year-old girl did not exist.
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               Instead, Downs thought he was corresponding with the minor's step-father. In

               the early hours of April 11, 2015, Downs traveled from Iowa to Sioux Falls,

               South Dakota, with the intention of having illicit sexual conduct with a 15-

               year-old female. Downs went to the agreed upon location in Sioux Falls, South

               Dakota, and was arrested by law enforcement, all in violation of 18 U.S.C. §

               2423(b).

                      The defendant further stipulates and agrees that the following property

               was used or intended to be used in the commission of the offense described

               above:

                        1. Samsung Galaxy S5 cellular telephone;
                        2. $160.00 in U.S. currency.
                                                     RANDOLPH J. SEILER
                                                     United States Attorney



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                i/-20- /6
               Date
                                                     Defendant




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